                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, et al.,

                      Plaintiffs,

v.

KYLE ARDOIN, in his official capacity
as Secretary of State for Louisiana,

                      Defendant.
                                            CIVIL ACTION
                                            NO. 3:22-CV-00211-SDD-SDJ
consolidated with
                                            consolidated with
                                            NO. 3:22-CV-00214-SDD-SDJ
EDWARD GALMON, SR., et al.,

Plaintiffs,

v.

KYLE ARDOIN, in his official capacity
as Secretary of State for Louisiana,

                      Defendant.




                                [PROPOSED] ORDER

         It is hereby ORDERED that the State and the Secretary will have until 2:00

p.m. on May 6, 2024, to file a response to Galmon Plaintiffs’ motion for

reconsideration, ECF No. 372. Thus, extending their time to file a response by four

hours.

         The State and the Secretary’s motion for extension of time is hereby

GRANTED.
Dated this 2nd day of May 2024.



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Chief Judge Shelly D. Dick
